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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  OCALA DIVISION

SANDRA LAURENTANO

        Plaintiff,

v.                                                    CASE NO.: 5:18-cv-00285-JSM-PRL

STERLING JEWELERS, INC., d/b/a
JB ROBINSON JEWELERS, and DNF
ASSOCIATES, LLC

      Defendants.
____________________________________/

     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT
                           DNF ASSOCIATES, LLC

        The Plaintiff, Sandra Laurentano and Defendant DNF Associates, LLC, by and through

undersigned counsel and pursuant to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, hereby stipulate, agree and give notice that all claims asserted by the Plaintiff against

Defendant DNF Associates, LLC, in this action are hereby dismissed with prejudice with each

party to bear its own attorneys’ fees and costs.

DATED: May 23, 2019.

     /s/ Heather H. Jones                                 /s/ Christopher A. Walker
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     for Plaintiff, Sandra Laurentano
